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 9                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
10                                          AT SEATTLE
11
     Alexander K. Finlan, a single man,            )       NO. 2:20-cv-00005-JCC
12                                                 )
                              Plaintiff,           )       FIRST AMENDED COMPLAINT FOR A
13                                                 )       CIVIL CASE ALLEGING NEGLIGENCE
         v.                                        )       AND SEEKING PERSONAL INJURY
14
                                                   )       DAMAGES
15   United States of America,                     )       (28 U.S.C. sec. 2679; 28 U.S.C. sec.
                              Defendant.           )       1346(b)(1))
16
                                                   )
17                                                 )       JURY DEMAND
                                                   )
18
              COMES NOW the Plaintiff, ALEXANDER K. FINLAN, a single man, by and through
19
20   his attorney of record, and alleges as follows:

21                                         I.     INTRODUCTION
22
              1.1       Plaintiff, ALEXANDER K. FINLAN, (hereinafter “FINLAN”) a minor at the time
23
     of the subject automobile and now an adult, was driving a 1983 Chevrolet S10 pickup,
24
     Washington vehicle license #B19294N, in the single westbound lane of the South Skagit Highway
25
     between mileposts 2 and 3 at approximately 4:00 PM on December 4, 2017. HERMAN M.
26
     SEDILLO, (hereinafter “SEDILLO”), acting within the scope of his employment with the
27
     UNITED STATES DEPARTMENT OF AGRICULTURE, (hereinafter “USDA”), was driving a
28

       FIRST AMENDED COMPLAINT                         1           BAILEY, DUSKIN & PEIFFLE, P.S.
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 1   2016 Ford Fusion, Government license #G134335S, owned by USDA eastbound on the South
 2   Skagit Highway.
 3           1.2        SEDILLO, in his role as an employee of USDA, caused the Ford Fusion to cross
 4   the centerline and collide head on with the S10 pickup in the westbound lane. The S10 pickup
 5   ended up with its front fender up against the guardrail of the westbound lane.
 6           1.3        Both vehicles were towed from the scene. Plaintiff’s S10 pickup sustained total
 7   damage. Plaintiff has not been compensated for the loss of his property.
 8           1.4        Plaintiff was transported from the scene by ambulance to Skagit Valley Hospital.
 9   He sustained fractures of teeth, nasal bones and right tibia, a concussion, and deep lacerations to
10   his face. He treated for these injuries, as well as psychological injuries, with multiple providers.
11           1.5        At the time of the accident, Plaintiff did not have medical insurance. His extensive
12   medical bills have been paid by a third party, which has a subrogation claim against his recovery.
13                                            II.          PARTIES
14           2.1        Plaintiff, ALEXANDER K. FINLAN, is a single man who has reached the age of
15   majority since the automobile accident that is the subject of this lawsuit and, all times pertinent
16   to this case, a resident of Snohomish and Skagit Counties.
17           2.2        Defendant, UNITED STATES OF AMERICA, through its department, UNITED
18   STATES DEPARTMENT OF AGRICULTURE’s FOOD SAFETY AND INSPECTION
19   SERVICE and USDA, employed HERMAN M. SEDILLO who, at all times relevant to this
20   action, was an employee of USDA and was acting within the course and scope of his employment
21   and driving a vehicle owned by USDA at the time of the motor vehicle accident with Plaintiff on
22   December 4, 2017. SEDILLO is a resident of Skagit County, Washington.
23                                       III. JURISDICTION & VENUE
24           3.1        This Court has original jurisdiction over this lawsuit for money damages for
25
     personal injury and loss of property caused by the negligent or wrongful act or omission of an
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27
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       FIRST AMENDED COMPLAINT                         2             BAILEY, DUSKIN & PEIFFLE, P.S.
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 1   employee of USDA while acting within the scope of his office or employment pursuant to 28
 2   U.S.C. sec. 1346(b)(1).
 3
             3.2        Venue of this matter is correct in the Western District of Washington because the
 4
     accident giving rise to this lawsuit occurred in Skagit County and the parties reside in Snohomish
 5
 6   and Skagit Counties.

 7           3.3        Plaintiff was a minor at the time of the motor vehicle accident giving rise to this
 8
     lawsuit and has since reached the age of majority. Prior to commencing this lawsuit, Plaintiff,
 9
     through his parents, complied with the Federal Tort Claims Act by submitting a Standard Form
10
     95, Claim for Damage, Injury, or Death to USDA Food Safety and Inspection Service, within the
11
12   timeline set forth in 28 U.S.C. sec. 2401(b). Plaintiff received no response to that claim within

13   six months of its filing with USDA under 28 U.S.C. sec. 2675, and received a formal denial of
14
     his claim from USDA dated February 13, 2020.
15
                                         IV. FACTUAL ALLEGATIONS
16
17           4.1        Plaintiff incorporates by reference as though fully set forth herein the preceding

18   paragraphs of this Complaint.
19           4.2        Plaintiff was sixteen years of age on December 4, 2017, and has since reached the
20
     age of majority.
21
             4.3        Plaintiff’s usual mode of transportation was a 1983 Chevrolet S10 pickup owned
22
23   by his family.

24           4.4        Plaintiff had lived in Skagit and Snohomish Counties all of his life and was
25   familiar with the South Skagit Highway.
26           4.5        At approximately 4:00 PM on December 4, 2017 Plaintiff was driving the S10
27   pickup in the westbound lane of the South Skagit Highway.
28

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 1             4.6      SEDILLO was driving a 2016 Ford Fusion, Government license #G134335S,
 2   owned by USDA, eastbound on the South Skagit Highway.
 3             4.7      SEDILLO, an employee of USDA, caused the Ford Fusion to cross the centerline
 4   and collide head on with the S10 pickup in the westbound lane.
 5             4.8      The S10 pickup ended up with its front fender up against the guardrail of the
 6   westbound lane.
 7             4.9      The Ford Fusion ended up perpendicular to the lanes of travel with the front of the
 8   vehicle at the north edge of the westbound lane.
 9             4.10     The majority of debris from the collision was found in the westbound lane of
10   travel.
11             4.11     Both vehicles were towed from the scene. Plaintiff’s S10 pickup sustained total
12   damage. Plaintiff has not been compensated for the loss of his property.
13             4.12     Plaintiff was transported from the scene by ambulance to Skagit Valley Hospital.
14   He sustained fractures of teeth, nasal bones and right tibia, a concussion, and deep lacerations to
15   his face.
16             4.13     At the time of the accident, Plaintiff worked part time for a business in Mount
17   Vernon. He could not continue with that employment for several months following the accident
18   because of his inability to stand.
19             4.14     At the time of the accident, Plaintiff attended his junior year at Mount Vernon
20   High School. He missed one and one-half (1 ½) months of school following the accident. He
21   dropped out after returning due to being so far behind and self-consciousness about the scars on
22   his face.
23             4.15     Plaintiff underwent surgery to repair his leg fracture. He followed up with physical
24   therapy for that condition.
25             4.16     Plaintiff underwent surgery for the nasal fracture sustained in the accident. He
26   continues to have a slight deformity of his nasal septum.
27             4.17     Plaintiff had several teeth repaired due to damage sustained in the accident.
28

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 1             4.18     Plaintiff has several facial scars that have not been surgically repaired because of
 2   his lack of medical insurance.
 3             4.19     Plaintiff suffered Post Traumatic Stress Disorder following the accident. He was
 4   admitted to Children’s Hospital for in-patient care due to his anxiety and depression related to the
 5   PTSD. He treated with a mental health provider following his discharge from Children’s
 6   Hospital.
 7             4.20     Plaintiff returned to part-time work in mid-2018.
 8             4.21     Plaintiff attempted, but did not complete, a high school degree through an online
 9   course.
10             4.22     At the time of the accident, Plaintiff did not have medical insurance. His extensive
11   medical bills have been paid by a third-party, which has a subrogation claim against his recovery.
12                                                   V. CLAIMS
13                                FIRST CAUSE OF ACTION – NEGLIGENCE
14
               5.1      Plaintiff incorporates by reference as though fully set forth herein the preceding
15
     paragraphs of this Complaint.
16
17             5.2      Defendant owed Plaintiff a duty of reasonable care in the operation of their its

18   vehicle on South Skagit Highway.
19
               5.3      Defendant breached that duty of care by allowing its vehicle to cross the centerline
20
     into Plaintiff’s lane of travel.
21
               5.4      The actions of Defendants proximately caused damages to Plaintiff in the form of
22
23   property damage, physical injury, loss of income, loss of educational opportunity, and mental

24   trauma.
25
               5.5      Plaintiff seeks recovery of special and general damages for the negligence of
26
     Defendants in an amount that will be proved at trial.
27
28

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 1                                           VI.      JURY DEMAND
 2           6.1        Pursuant to Civil Rule 38(b), Plaintiff demands a trial by jury of all issues triable
 3
     under the law.
 4
                                                   VII.   PRAYER
 5
 6           WHEREFORE, Plaintiff prays for relief as follows:

 7           1.         Compensatory damages including, without limitation, economic and non-
 8
     economic damages;
 9
             2.         Reasonable attorney’s fees and costs to the extent permitted by law; and
10
             3.         For such other and further relief as to the Court may deem just and equitable.
11
12           DATED this 11th day of March, 2020.

13
                                                   BAILEY, DUSKIN & PEIFFLE, P.S.
14
15
                                                   By _/s/ Bradley E. Neunzig_____________________
16                                                    Bradley E. Neunzig, WSBA #22365
17                                                    Attorneys for Plaintiff

18                                                    103 North Street
                                                      P.O. Box 188
19                                                    Arlington, WA 98223
20                                                    Telephone: 360-435-2168
                                                      Fax: 360-435-6060
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 1                                     CERTIFICATE OF SERVICE
 2           I hereby certify that I electronically filed the foregoing with the Clerk of the Court using
 3   the CM/ECF system which will send notification of filing to the following:
 4
             Attorneys for Defendant United States:
 5
             Tricia S. Boerger
 6           United States Attorney’s Office
             700 Stewart Street, Suite 5220
 7           Seattle, Wa 98101-4438
 8           Email: Tricia.Boerger@usdoj.gov

 9
             Dated this 11th day of March, 2020 at Arlington, Washington.
10
11
                                                            /s/ Lisa White
12                                                         Lisa White
                                                           Legal Assistant
13                                                         Email: lisa@snolaw.com
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       FIRST AMENDED COMPLAINT                       7             BAILEY, DUSKIN & PEIFFLE, P.S.
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